             Case 2:21-cr-20520-LVP-KGA ECF AUSA:
                                            No. 1, PageID.1     Filed 07/20/21
                                                    Wayne F. Pratt               Page 1(313)
                                                                             Telephone:  of 5226-9583
AO 91 (Rev. ) Criminal Complaint            Special Agent:          Michael Stassi, ATF            Telephone: (313) 202-3400

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                Eastern District of Michigan

United States of America
   v.
LAFAYETTE HILL                                                            Case No. &DVHíPMí
                                                                                   $VVLJQHG7R8QDVVLJQHG
                                                                                   $VVLJQ'DWH
                                                                                   86$9+,// &03 &0&




                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of                  May 16, 2021                in the county of                 Wayne     in the
        Eastern          District of       Michigan        , the defendant(s) violated:
                  Code Section                                            Offense Description
18 U.S.C. § 922(g)(1)                                   Felon in Possession of a Firearm




          This criminal complaint is based on these facts:

        *SEE ATTACHED AFFIDAVIT




✔ Continued on the attached sheet.

                                                                                           Complainant’s signature

                                                                         Special
                                                                          p      Agent
                                                                                  g Michael Stassi,, ATF
                                                                                            Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:     July 20, 2021                                                                        Judge’s signature

City and state: Detroit, Michigan                                     HON.
                                                                        N. KIMBERLY ALTMAN,, U.S. Magistrate
                                                                                                    g        Judge
                                                                                                             Judgg
                                                                                            Printed name and title
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                                AFFIDAVIT

I, Senior Special Agent/Certified Fire Investigator Michael Stassi, being

duly sworn, depose and state the following;

   1. I make this affidavit from personal knowledge based on my

      participation in this investigation, including witness interviews

      conducted with other law enforcement agents, communications with

      others who have personal knowledge of the events and circumstances

      described herein, and information gained through my training and

      experience. The information outlined below is provided for the

      limited purpose of establishing probable cause and does not contain

      all the details, or facts of which I am aware relating to this

      investigation.

   2. I have been employed as a Special Agent (SA) with the U.S. Bureau

      of Alcohol, Tobacco, Firearms and Explosives (ATF) since 2005. I

      have received formal training from the ATF National Academy, the

      National Fire Academy, the National Center for Explosives Training

      and Research and the Federal Law Enforcement Training Center. I

      have participated in investigations related to Federal and State

      firearms, arson, explosive, murder and tobacco trafficking laws.

      These investigations have resulted in the arrest and conviction of
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      criminal defendants on both State and Federal firearms, arson,

      explosive, murder and tobacco diversion charges.

   3. In addition to my duties as a criminal investigator, I am also an ATF

      Certified Fire Investigator (CFI). As an ATF CFI, I am tasked with

      providing expert opinions as to the origin and cause of fires and

      explosions. I obtained the ATF CFI certification in 2016 following a

      two (2) year training program that centered on various fire science

      topics including, but not limited to: chemistry, fire dynamics, and

      building construction. The two (2) year ATF CFI certification

      program consisted of graduate level college courses, written exams,

      research papers, reading assignments, practical training exercises, and

      test burns of various materials.

   4. To date, I have participated in over three hundred and thirty nine

      (339) fire and post-blast scene examinations and have conducted

      and/or observed over one hundred and thirty (130) live fire training

      exercises, where training fires were ignited and fire growth and

      development was documented. Additionally, I have been certified as

      a fire investigator by the International Association of Arson

      Investigators (IAAI) since June 2016 and have received over six




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      hundred and forty (640) class hours of fire and explosive related

      training.

   5. I am currently investigating Lafayette HILL (DOB: XX, XX, 1986)

      for Federal firearms violations, specifically a Violation of 18 U.S.C.

      §922(g)(1), felon in possession of a firearm.

   6. On May 16, 2021, Detroit Police Department (DPD) officers, working

      in a partially marked scout car, were conducting routine patrol near

      the intersection of Jefferson Ave. and 10th St in Detroit, MI. While

      driving in the noted area, officers observed a male, later identified as

      Lafayette HILL, standing on the sidewalk. One of the officers

      observed a suspected handgun in his right pocket.

   7. As officers approached HILL to conduct a further investigation, they

      identified themselves and made verbal confirmation that HILL did not

      have a valid Michigan Concealed Pistol License (CPL). A subsequent

      search of HILL’s person revealed the presence of one (1) Smith and

      Wesson, M&P Shield, 9mm handgun, loaded with seven (7) rounds of

      9mm ammunition and bearing serial number: HKE1836, in his right

      pant pocket. While being detained for the noted firearm, HILL

      voluntarily provided statements indicating that he knew the firearm




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      was on his person and that he had obtained the weapon from the

      adjacent yard.

   8. On June 22, 2021, I reviewed a National Crime Information Center

      (NCIC) computer printout regarding HILLS’s criminal history. The

      NCIC printout revealed the following felony convictions: a October

      30, 2006, conviction for Felony Controlled Substance less than 50

      grams and a November 2, 2006, conviction for Attempt Felony

      Carrying a Concealed Weapon.

   9. On this same date, I consulted with ATF Special Agent Joshua

      McLean, a certified firearms Interstate Nexus expert, concerning the

      manufacture of the above-mentioned Smith and Wesson, M&P Shield

      9mm. Special Agent McLean stated that the firearm was

      manufactured outside the State of Michigan. Therefore the firearm

      traveled in and affected interstate and/or foreign commerce.




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